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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                       8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )              ORDER AND JUDGMENT
                              )
                Defendant.    )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED:

           1)   Defendant’s motion to vacate, set aside, or correct

sentence under 28 U.S.C. § 2255 (Filing No. 130) is denied.

           2)   The government’s motion to dismiss defendant’s

motion under 28 U.S.C. § 2255 (Filing No. 133) is granted.

           3)   The government’s motion for ruling on motion to

dismiss, to extend time for filing an answer and for order

directing former defense counsel to provide affidavits (Filing

No. 135) is denied as moot.

           DATED this 24th day of February, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
